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                  IN THE UNITED STATES DISTRICT COURT
                      FOR THE DISTRICT OF MONTANA
                            BILLINGS DIVISION



 UNITED STATES OF AMERICA,
                                                  CR 16-107-BLG-SPW-7
                      Plaintiff,

 vs.                                               ORDER

 CHRISTINA KAMRAN-KOHNJANI,

                      Defendant.

       On October 4, 201 7, the Court held a hearing to address the question of

whether Defendant Christina Kamran-Kohnjani is competent to understand the

nature and consequences of the proceedings against her or to assist properly in her

defense.

       Upon the record made in open court,

       IT IS HEREBY ORDERED that the Court has determined that Defendant

Christina Kamran-Kohnjani is competent to understand the nature and

consequences of the proceedings against her and to assist properly in her defense.




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      IT IS FURTHER ORDERED that the Sentencing Hearing and all related

deadlines will be set under separate Order.

      DATED this     nay      of October, 2017.

                                              ~/-tJ~
                                              SUSANP. WATTERS
                                              United States District Judge




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